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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-11-340 (9 and 10)
                                            §
                                            §
STEVEN MARSHALL BOEHNING                    §
HUNG VAN DANG                               §


                                       ORDER

        Defendant Dang filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 419). Defendant Boehning filed a motion to adopt the

codefendant’s motion. (Docket Entry No. 420). The        motions for continuance are

GRANTED. The sentencing hearing is reset to May 10, 2013 at 1:30 p.m. Objections to the

presentence report are due by April 23, 2013.

             SIGNED on February 12, 2013, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge
